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                        UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION



DEMONTRAY HUNTER, by and through his next
friend, Rena Hunter; RUSSELL D. SENN, by and
through his next friend, Irene Senn; TRAVIS S.
PARKS, by and through his next friend, Catherine
Young; VANDARIUS S. DARNELL, by and
through his next friend, Bambi Darnell; FRANK
WHITE, JR., by and through his next friend, Linda
White; MARCUS JACKSON, by and through his
next friend Michael P. Hanle; TIMOTHY D.
MOUNT, by and through his next friend, Dorothy
Sullivan; HENRY P. MCGHEE, by and through his
next friend, Barbara Hardy, individually and on
behalf of all others similarly situated; and the
ALABAMA         DISABILITIES       ADVOCACY
PROGRAM,
                                                    CASE NO. 2:16-cv-00798-MHT-CSC

      Plaintiffs,


v.                                                       CLASS ACTION FOR
                                                         DECLARATORY AND

KIMBERLY G. BOSWELL, in her official                     INJUNCTIVE RELIEF
capacity as Commissioner of the Alabama
Department of Mental Health,


      Defendant.




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                                   JOINT STATUS REPORT


       The named Plaintiffs as class representatives, the Alabama Disabilities Advocacy Program,

and the named Defendant, Kimberly G. Boswell, Commissioner of the Alabama Department of

Mental Health (the Department), submit this report as ordered by the Court on June 7, 2021 on the

status of compliance with the Consent Decree entered in this action on January 25, 2018 (see Order

ECF No. 191; Consent Decree, ECF No. 94), and in compliance with the Court’s Order of March

22, 2021 (ECF No. 182).

DEFENDANT’S STATUS UPDATE

       Since the parties’ last status hearing before this Court, the Department has continued its

work to reduce the backlog of incarcerated defendants awaiting outpatient evaluations. The

Department’s October 2021 report to the monitor continues to demonstrate compliance with the

Consent Decree, with an average of 20 days from receipt of the order to evaluation for competency

to stand trial. Three outliers persist over 30 days which were not the Department’s fault, i.e., one

could not be evaluated due to active Covid-19 quarantine, one is a complex case, and the attorney

wants to be present for all evaluations, and one defendant was timely evaluated but the data entry

was delayed.

       The Department will continue to use its evaluators in the most efficient manner possible to

stay in substantial compliance and will ask for relief from the Consent Decree as far as providing

outpatient evaluations at the proper time.

       The Department is still utilizing Covid-19 protocols to reduce infection and transmission

for its inpatient admissions. Admissions remain on a slower pace so that adequate quarantine

space is available. Taylor Hardin Secure Medical Facility still admits only two patients per week




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because of the necessity to quarantine new patients per Dr. Mark Woods, the Department’s medical

director, and in concert with current CDC guidelines. The Department has approved three

emergency placements since the last status conference pursuant to the Consent Decree.

       The inpatient waitlist slightly increased to 113 in October’s report to the monitor, but the

Department still has open beds that can be safely filled. The Department’s newly constructed 16-

bed forensic hospital-like facility (The Norman-McLendon Facility) will open with staff

November 15th and has scheduled its first two admissions for November 30, 2021 and December

1, 2021. It is anticipated another three patients will be admitted by December 31, 2021, with the

remaining beds to be filled on a structured pace.

PLAINTIFFS’ RESPONSE TO DEFENDANT’S STATUS UPDATE

       Plaintiffs commend Defendant for the Department’s continued forward progress toward

Substantial Compliance with the timeframes for provision of Outpatient Mental Evaluations.

When taking into account out-of-order provision of services, Defendant was well under the 34-

day timeframe for Substantial Compliance, and even when calculated in date-of-receipt order,

Defendant was still only 0.1 days over the Substantial Compliance timeframe in September 2021,

and close to nine (9) full days under it in October 2021. Plaintiffs note that the Department appears

to be working on ways to more efficiently utilize CFEs, and commend the Department for that

development. Plaintiffs further note that Defendant has been working to provide clearer, more

detailed narrative reasons explaining skips and jumps in the provision of outpatient-based services,

which makes it significantly more simple to ascertain the true status of Defendant’s compliance

with the terms of the Consent Decree, and to identify where logjams may occur, if and when such

happens. Plaintiffs are hopeful that Defendant will continue its forward trajectory toward long-

term, sustained compliance with the terms of the Consent Decree as they relate to the provision of



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Outpatient Mental Evaluations. Plaintiffs also look forward to turning to fixing Defendant’s

continued compliance issues with inpatient measures. 1

       Dated: November 9, 2021

                                     Respectfully submitted,


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 Plaintiffs acknowledge that the resurgence of COVID-19 over the past few months represents an
added obstacle to compliance with the provisions of the Consent Decree mandating timeframes
for provision of inpatient-based services. All parties are hopeful that this newest wave will have
ended or at least receded somewhat by the time the parties turn their attention toward inpatient-
based services.


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                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that I have caused a true and correct copy of the foregoing

to be served on the counsel of record listed below by filing same with the Clerk of Court via the

CM/ECF system this 9th day of November 2021.

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